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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              Northern Division


CHARLES SLAUGHTER,

Plaintiff,
                                                Civil Action No. 3:20-cv-789-CWR-
vs.
                                                FKB
DR. DANIEL P. EDNEY, in his
official capacity as the Mississippi
State Health Officer, ET AL.

Defendants.

RESPONSE BY DR. DANIEL P. EDNEY, IN HIS OFFICIAL CAPACITY AS THE
MISSISSIPPI STATE HEALTH OFFICER, TO PLAINTIFF’S COMBINED FIRST
SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS


       Defendant Dr. Daniel P. Edney, in his official capacity as the Mississippi State

Health Officer (“MSDH"), hereby responds to Plaintiff Charles Slaughter’s First Set of

Interrogatories and Requests for Production of Documents (“Interrogatory”) as follows:

                       GENERAL OBJECTIONS AND LIMITATIONS

       MSDH objects to each and every Interrogatory to the extent it seeks information

beyond the scope of discovery as provided by the Federal Rules of Civil Procedure and/or

the Local Rules of the Southern District of Mississippi, or that purports to impose

obligations on MSDH greater than or inconsistent with those imposed by the Federal

Rules of Civil Procedure, the Local Rules of the Southern District of Mississippi, and/or

the Case Management Order entered in this action.

       MSDH objects to Plaintiff’s Interrogatories to the extent they exceed the number

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 information, and as other facts emerge, or if otherwise appropriate under the Federal

 Rules of Civil Procedure.

       MSDH further reserves the right to rely on any facts, information, and/or

 documents identified, disclosed, or produced in this case, whether described or

 identified in his Responses to Plaintiff’s Interrogatories or not. Subject to and without

 waiving any of the foregoing Objections or Limitations, MSDH provides the following

 specific Objections and Responses.




                                  INTERROGATORIES

INTERROGATORY NO. 1: Identify each government interest you contend is advanced by

Mississippi’s CON program.

RESPONSE NO. 1:
Objection. This request is premature as Discovery has not closed yet.
MSDH objects to Interrogatory No. 1 as vague, ambiguous, overbroad, unduly
burdensome, premature, not proportional to the needs of the case, and to the extent it
seeks a legal conclusion. MSDH further objects to Interrogatory No. 1as an inappropriate
contention interrogatory seeking disclosure of the mental impressions, conclusions,
opinions, legal theories, and/or trial strategy of defense counsel; and to the extent
Interrogatory No. 1 could be interpreted to improperly seek information subject to the
attorney client privilege, the work product doctrine, the common interest or joint defense
privilege, or other applicable privileges.
Without waiving, and limited by those objections, and as MSDH interprets and
understands Interrogatory No. 1, the CON program enables MSDH to prevent an
oversaturation of HHAs and limit new providers of home health services, both of which
advance the State’s legitimate and compelling interest in cost savings, as well as
promoting access and continuity of care for all Mississippians, as further explained in the
authorizing statutes.
Further, under rational basis review applicable to this matter, MSDH has no obligation to
provide an exhaustive list of governmental interests that the Court might find were
furthered by the CON Laws and Regulations. Rational-basis review does not require a
State to produce evidence that a law will achieve its objectives. See Heller v. Doe, 509
U.S. 312, 320 (1993) (“A State ... has no obligation to produce evidence to sustain the
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      RESPECTFULLY SUBMITTED, this the 20th day of June 2023.

                                           Dr. Daniel P. Edney, in his official capacity as the
                                           Mississippi State Health Officer

                                     BY:   LYNN FITCH, ATTORNEY GENERAL FOR THE
                                           STATE OF MISSISSIPPI

                                     BY    /s/ Stephen Schelver
                                           STEPHEN F. SCHELVER, MSB # 101889


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                              CERTIFICATE OF SERVICE

      I the undersigned attorney do hereby certify that a copy of the above document was

provided to all counsel of record.


      This the 20th day of June 2023.


                                                 /s/ Stephen Schelver
                                                 Stephen F. Schelver




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